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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )              Case No. CR-18-227-SLP
                                            )
JOSEPH MALDONADO-PASSAGE,                   )
                                            )
                      Defendant.            )

         DEFENDANT’S DESIGNATION OF DEPOSITION TESTIMONY
                        OF ASHLEY WEBSTER

       Counsel for Joseph Maldonado-Passage, submits the following designation of

testimony of Ashley Webster.

       Preliminarily, Mr. Passage objects to the use of the Rule 15 deposition to present Ms.

Webster’s testimony.      This objection has been formalized in his response to the

Government’s Motion to Take Rule 15 Deposition (Docs. 90, 91). Moreover, additional

information concerning Ms. Webster’s alleged inability to travel came to light and is

discussed in the deposition transcript at Page 5, line 2 through Page 9, line 5. In light of that

additional information, Mr. Passage objects to the entirety of the deposition transcript being

entered as testimony.

       Should the Court permit Ms. Webster’s testimony over his objection, Mr. Passage

hereby designates the following portions of Ms. Webster’s testimony:

       !       Page 10, line 20 through page 15, line 4;
       !       Page 18, line 21 through page 20, line 2;
       !       Page 28, line 4 through page 34, line 15;
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       !       Page 40, line 17 through page 41, line 3;
       !       Page 42, line 3 through page 42, line 20;
       !       Page 44, line 13 through page 45, line 6.

       Mr. Passage maintains his objection to the admissibility of the 404(b) evidence. Mr.

Passage reurges his objection to Ms. Webster’s testimony on the basis that it is propensity

evidence offered solely to show Mr. Passage acted in conformity with prior conduct. Any

probative value of the evidence is substantially outweighed by the danger of unfair prejudice.

Fed.R.Evid. 403. It is impermissible propensity evidence outside the scope of Rule

404(b)(2).

       However, should the court overrule this objection, Mr. Passage designates the

following additional portions of the transcript. By designating these portions, Mr. Passage

expressly notes he is not waiving his objection to the admissibility of this line of testimony,

and requests a continuing objection:

       !       Page 15, line 5 through page 18, line 20;
       !       Page 20, line 23 though page 22, line 16;
       !       Page 24, line 1 through page 24, line 24;
       !       Page 27, line 12 through page 27, line 15;
       !       Page 34, line 16 through page 38, line 4;
       !       Page 41, line 4 through page 42, line 2.




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                                  Respectfully submitted,

                                  s/ Kyle E. Wackenheim
                                  WILLIAM P. EARLEY
                                  Bar Number 11293
                                  KYLE E. WACKENHEIM
                                  Bar Number 30760
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                            CERTIFICATE OF SERVICE

       I hereby certify that on March 20, 2019, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice
of Electronic filing to the following ECF registrants: Amanda Green and Charles Brown,
Assistant United States Attorneys.

                                  s/ Kyle E. Wackenheim
                                  KYLE E. WACKENHEIM




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